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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

CHARLES HILL,                           )
                                        )
                Plaintiff,              )
                                        )
       v.                               )    CASE NO. 2:20-CV-459-WKW
                                        )              [WO]
TRACY JONES, et al.,                    )
                                        )
                Defendants.             )

                                    ORDER

      On August 12, 2020, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 10.) Upon an independent review of

the record, it is ORDERED as follows:

      (1) Plaintiff’s claims against the Alabama Board of Pardons and Paroles

      is DISMISSED with prejudice under 28 U.S.C. § 1915(e)(2)(B)(i) & (iii) as

      this Defendant is absolutely immune from suit;

      (2) Plaintiff’s due process claim challenging the fundamental legality of

      his incarceration as a parole violator is DISMISSED without prejudice under

      28 U.S.C. § 1915(e)(2)(B)(ii) as such claim currently provides no basis for

      relief;
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 (3) Plaintiff’s supplemental state law claim is DISMISSED without prejudice

 to any right he may have to present this claim in state court as this court deems

 it inappropriate to exercise supplemental jurisdiction over this claim; and

 (4) This case is DISMISSED prior to service of process under 28 U.S.C. §

 1915(e)(2)(B)(i-iii).

 Final judgment will be entered separately.

 DONE this 11th day of September, 2020.


                                               /s/ W. Keith Watkins
                                         UNITED STATES DISTRICT JUDGE




                                     2
